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            Exhibit 3
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From: BatteryPark.TV
Sent: Tuesday, March 11, 2014 12:14 PM
To: Forst, Robin
CC: Dennis Mehiel; Serpico, Robert; Hyman, Shari
Subject: Per call



Robin

Per call, I know what the BPCA has been up to and why your predecessors are gone. I highly

encourage you to find a reliable moral compass and do the right thing. I promise you that I will
expose every single trick and game that you play. The truth is powerful and people are fed up

with the BPCA corruption.

Specifically, from you, I would appreciate it if you would answer my calls and not pretend to be

in meetings. Your predecessors, for years, claimed to be in meetings every time I called.

I would appreciate simple answers rather than stonewalling and making me go through FOIL.

I would appreciate it at meetings, such as the recent CB1 meeting, that you not use Gwen

Dawson stalling and "boring to tears" tactics to make the audience leave before you have a

controversial vote on 4:00 AM liquor licenses.




Steven Greer, MD
BatteryPark.TV
(212) 945-7252
steve@batterypark.tv




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